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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA


                                         PRO MEMO

                                                              11/21/2023 01:30 PM
                                                               COURTROOM 6D, 6th Floor
HONORABLE GRACE ROBSON
CASE NUMBER:                                                  FILING DATE:
6:23-bk-04639-GER                       11                       11/01/2023
Chapter 11
DEBTOR:                Aviation Safety Resources, Inc.


DEBTOR ATTY:          Daniel Fogarty
TRUSTEE:              L. Budgen
HEARING:
Sale Hearing:
1) Debtor's Motion to Sell Property Free and Clear of Liens. Property description: All Assets (Doc #48)
LaVanway Objection to Sale (Doc #35)
cont. Status Conference:
2) Debtor's Emergency Motion to Use Cash Collateral (Doc #21)
Zodiac's Objection (Doc #30)
Pending:
Debtor's Motion to Extend Deadline to File Schedules and Statements (Doc #57)
Note: 11/7/23
341 scheduled: 12/4/23
Sub V Plan Due: 1/30/24
Sub V Trustee: Todd Budgen
Claims Deadline: 1/10/24
Joint Case Summary (Doc #7)
Future Hearing: 12/12/23 at 9:30 am (Initial Status)
Notice of Deficient Filing. Summary of Assets, Schedules, Declaration, Statement of Financial Affairs, Statement of Compensation
                         of Attorney (Doc #29)
Jointly Administered:
23-4641 SE, Inc.
23-4643 Pioneer Aerospace

APPEARANCES:: Daniel Fogarty (Debtor Atty); Mike Freeman (Asgar); Mike Renaldi (Debtor Rep); Todd Budgen (Sub V
Trustee); Scott Bomkamp (US Trustee Atty); Dov Frankel, Rilyn Carnahan (Paradigm Atty); George Angelich (Space X Atty);
Jerret Hitchings (Zodiac Atty); RULING:
Sale Hearing:

1) Debtor's Motion to Sell Property Free and Clear of Liens. Property description: All Assets (Doc #48) - Granted:Order by
Fogarty;


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cont. Status Conference:

2) Debtor's Emergency Motion to Use Cash Collateral (Doc #21) - Granted on an interim basis to 12/12/23 - cont. to December
12, 2023 at 9:30 am:Order by Fogarty;

 3) Debtor's Motion for Approval of Post-Petition Financing and Grant Liens and Superpriority Administrative Expense Status
Pursuant to 11 U.S.C. § 364(c) and F.R.B.P. 4001 (Doc #14) - Granted on a Final Basis as discussed in open court:Order by
Fogarty;
(gww).
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




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